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 7
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 8   RAMESH “SUNNY” BALWANI

 9
10   UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                    SAN JOSE DIVISION

12

13   UNITED STATES OF AMERICA,                    Case No. CR-18-00258-EJD
14                    Plaintiff,                     DEFENDANT RAMESH “SUNNY”
                                                     BALWANI’S PROPOSAL RE: JURY
15          v.                                       INSTRUCTIONS AND VERDICT
                                                     FORM
16   RAMESH “SUNNY” BALWANI,
17                    Defendant.                  Hon. Edward J. Davila
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                                                                DEFENDANT BALWANI’S PROPOSAL RE: JURY
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 1                    MR. BALWANI’S PROPOSAL RE: JURY INSTRUCTIONS

 2           Mr. Balwani recognizes that the charges against Mr. Balwani and Ms. Holmes are the
 3   same, and that the Court issued preliminary and final instructions and a final verdict form for
 4   Ms. Holmes’ trial accepting some of her proposals and rejecting others. See Dkts. 1006, 1201,
 5   1202, 1206; see also 9/08/21 Trial Tr. at 515:11–531:2 (giving preliminary instructions);
 6   12/17/21 Trial Tr. at 9323:2–9349:7 (giving final instructions). But to preserve his record,
 7   Mr. Balwani adopts the proposed preliminary and final jury instructions submitted by
 8   Ms. Holmes, along with Ms. Holmes’ objections to the government’s proposed jury instructions.
 9   See Dkts. 809, 955, 1188. Mr. Balwani also adopts the arguments of Ms. Holmes’ counsel on
10   preliminary and final jury instructions, including at the charging conferences on December 3, 10,
11   and 13, 2021. See Dkts. 1178, 1189, 1194; 12/3/21 Trial Tr. at 8216:5–8301:6; 12/10/21 Trial Tr.
12   at 8663:5–8819:7; 12/13/21 Trial Tr. at 8829:8–8895:4.1 If the Court adopts the preliminary and
13   final instructions in Ms. Holmes’ case for Mr. Balwani’s case, each instance of “Elizabeth
14   Holmes” or “Ms. Holmes” should be replaced with “Ramesh ‘Sunny’ Balwani” or
15   “Mr. Balwani,” respectively, also substituting Ms. Holmes’ name for Mr. Balwani’s where the
16   instructions refer to a co-defendant.
17           Mr. Balwani also reserves the right to amend or supplement his proposed jury instructions
18   at a later time, including with limiting instructions, evidentiary instructions, special instructions,
19   and instructions on the theory of the defense.
20           Last, Mr. Balwani requests a change to one preliminary instruction affected by the Court’s
21   final instructions in Ms. Holmes’ case. Because the government agreed to withdraw its proposed
22   instructions on a separate omissions theory and disclaimed its intention to argue that theory, the
23   Court did not include an instruction based on an omissions theory in its final instructions. See
24   12/10/21 Trial Tr. at 8766:18–8767:11. Any references to that theory (which were included in the
25
     1
26     Mr. Balwani also understands that Ms. Holmes’ counsel made arguments concerning the jury
     instructions at the pretrial conference on August 16, 2021. As of the date of this filing,
27   Mr. Balwani does not have a transcript of this August 16 conference. Thus, if Ms. Holmes’
     defense asserted arguments at that conference beyond the arguments they asserted at the
28   December 2021 charging conferences, Mr. Balwani reserves the right to assert those arguments as
     well in his case.
                                                                            DEFENDANT BALWANI’S PROPOSAL RE: JURY
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 1   preliminary instructions given in Ms. Holmes’ trial) should thus be stricken from the preliminary

 2   instructions in Mr. Balwani’s trial. Mr. Balwani reproduces below the instruction the Court ruled

 3   it would give before Ms. Holmes’ trial, identifying the language he proposes to strike:

 4                     1.2 THE CHARGE—PRESUMPTION OF INNOCENCE

 5          This is a criminal case brought by the United States government. The government
            charges [Mr. Balwani] with conspiracy to commit wire fraud against Theranos
 6          investors, conspiracy to commit wire fraud against Theranos paying patients, and
            wire fraud against Theranos investors and paying patients.
 7
            The charges against [Mr. Balwani] are contained in the indictment. The indictment
 8          simply describes the charges the government brings against [Mr. Balwani]. The
            indictment is not evidence and does not prove anything.
 9
            [Mr. Balwani] has pleaded not guilty to the charges and is presumed innocent unless
10          and until the government proves [Mr. Balwani] guilty beyond a reasonable doubt.
            In addition, [Mr. Balwani] has the right to remain silent and never has to prove
11          innocence or present any evidence.
12          In order to help you follow the evidence, I will now give you a brief summary of the
            elements of the charged offenses. As I have said, at the end of the trial I will give
13          you more detailed instructions that will control your deliberations.
14          There are twelve counts in the indictment. The government must prove each element
            for each county beyond a reasonable doubt to make its case.
15
            Counts One and Two charge conspiracy to commit wire fraud.
16
            [Mr. Balwani] is charged in Count One with conspiring to commit wire fraud against
17          investors in Theranos during the period 2010 to 2015.
18          [Mr. Balwani] is charged in Count Two of the indictment with conspiring to commit
            wire fraud against patients who paid for Theranos’s blood testing services during
19          the period 2013 to 2016.
20          A conspiracy is a kind of criminal partnership—an agreement of two or more
            persons to commit one or more crimes. The crime of conspiracy is the agreement to
21          do something unlawful; it does not matter whether the crime agreed upon was
            committed.
22
            In order for [Mr. Balwani] to be found guilty of the charges of conspiracy, the
23          government must prove each of the following elements beyond a reasonable doubt:
24                  First, that there was an agreement between two or more persons to
                    commit wire fraud. I will define the elements of wire fraud in a
25                  minute.
26                  And second, that [Mr. Balwani] became a member of each alleged
                    conspiracy knowing of at least one of its objects and intending to help
27                  accomplish it.
28          Counts Three through Twelve charge wire fraud.
                                                                          DEFENDANT BALWANI’S PROPOSAL RE: JURY
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 1
            Counts Three through Eight charge wire fraud against investors in Theranos.
 2
            Counts Nine through Twelve charge wire fraud against paying Theranos patients.
 3
            In order for [Mr. Balwani to be found guilty of the charges of wire fraud, the
 4          government must prove each of the following elements beyond a reasonable doubt:

 5                 First, that [Mr. Balwani] knowingly participated in, devised, or
                   intended to devise a scheme or plan to defraud, or a scheme or plan
 6                 for obtaining money or property by means of false or fraudulent
                   pretenses, representations, promises, or omitted facts.
 7
                   To convict [Mr. Balwani] of wire fraud based on omissions of
 8                 material facts, you must find that [Mr. Balwani] had a duty to
                   disclose the omitted facts arising out of a relationship of trust. That
 9                 duty can arise either out of a formal fiduciary relationship, or an
                   informal, trusting relationship in which one party acts for the benefit
10                 of another and induces the trusting party to relax the care and
                   vigilance which it would ordinarily exercise.
11
                   A scheme to defraud is a deceptive scheme to deprive a person of
12                 money or property.

13                 Second, that the statements made or facts omitted as part of the
                   scheme were material; that is, they had a natural tendency to
14                 influence, or were capable of influencing, a person to part with
                   money or property;
15
                   Third, that [Mr. Balwani] acted with the intent to defraud, that is, the
16                 intent to deceive and cheat; and

17                 Fourth, that [Mr. Balwani] used, or caused to be used, an interstate
                   or foreign wire communication to carry out or attempt to carry out an
18                 essential part of the scheme.

19   See Dkt. 1006 at 2–4.
20

21   DATED: December 21, 2021                       Respectfully submitted,

22                                                  ORRICK HERRINGTON & SUTCLIFFE LLP

23
                                                    By: /s/ Jeffrey B. Coopersmith
24                                                      Jeffrey B. Coopersmith

25                                                        Attorney for Defendant
                                                          RAMESH “SUNNY” BALWANI
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                                                                          DEFENDANT BALWANI’S PROPOSAL RE: JURY
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